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                                          UNITED STATES DISTRICT COURT
                                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff,

v.                                                                           Case No. 06-20411-1



RUDOLPH DALRON WILLIAMS

           Defendant.
___________________________________/

                            ORDER SETTING SENTENCING AND DEADLINE DATES
                                AND IMPOSING OTHER RESPONSIBILITIES

            The Defendant having been convicted and referred to the Probation Department for

the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

1)          Sentence will be imposed on August 12, 2010 at 2:00 pm. If a custodial sentence

            is imposed, the defendant must be prepared to submit to custody on the day of

            sentencing.

2)          On or before June 24, 2010 the PSR must be submitted to counsel by the

            Probation Officer for review and possible objections.

3)          On or before July 8, 2010, any PSR objection must be stated to the Probation

            Officer (but cannot be filed on the docket). In stating an objection, counsel must use

            a format substantially similar to the attached Addendum. A purported PSR

            objection originating in a letter, an e-mail, a “sentencing memorandum,” etc., will be

            rejected by the Probation Officer and returned to the party who provided it.

4)          On or before July 22, 2010, the proposed final form of the PSR must be delivered

            to the court by the Probation Department.
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5)          Not later than July 29, 2010, any request by either party for a departure or variance

            from the Guidelines range must be presented in the form of a motion with a

            supporting brief.

6)          Not later than SEVEN DAYS before sentencing, any opposition to the other party’s

            motion for departure or variance motion must be filed.

7)          A Sentencing Memorandum is optional,1 but due SEVEN DAYS before

            sentencing.

8)          Counsel must provide a copy of any motion, opposition to a motion, and

            memorandum to the Probation Officer.

9)          Allocution at sentencing will ordinarily not exceed five minutes for Defendant’s

            counsel, five minutes for Defendant and five minutes for government counsel.

Date: April 13, 2010
                                                                         s/Robert H. Cleland
                                                                         ROBERT H. CLELAND
                                                                         United States District Judge




            1
       A sentencing memorandum is often superfluous in light of a motion for variance,
and more important in the absence of such a motion. Memoranda are ordinarily
reviewed by the court in the few days leading to sentencing. Do not use a sentencing
memorandum as a substitute for a motion for a USSG departure or 18 USC
§3553(a)(2) variance in sentence.
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                                                       SAMPLE
                                             PRESENTENCE REPORT ADDENDUM

Defendant’s name:                                                            Page #:
Docket #:                                                                    Paragraph #:
Date:                                                                        Line(s) #:
Objection #:

Section I: Defendant’s/Government’s objection:




_____________________________                                                _____________________________
Attorney’s signature                                                         I affirm the truth of every factual statement above.
                                                                             Defendant’s signature

Section II: Probation officer’s comments:




                                           Instructions for counsel
                     (Do not replicated instructions on the Addendum to be submitted)
1)          Provide all objections directly to the Probation Officer, and do not file them on the docket.

2)          Any objection or claim that a guideline or application note has been incorrectly applied or
            omitted must be accompanied by a clear explanation. Saying only that “the defendant
            disputes” a fact without providing an alternate explanation or reference to specific evidence
            is generally unavailing.

3)          Do not use the Addendum format or the formal “objection” process to merely
            •      point out a minor factual error, i.e., those that have no effect on guideline
                   calculations nor forms the basis for a departure. Such claims may be presented to
                   the Probation Officer by letter or memorandum.
            •      argue a mechanical result or an alternate guideline calculation that depends on the
                   resolution of a challenged factual item.
            •      react to required PSR comments such as factors for possible departure. Such
                   matters may be presented to the court in the form of a sentencing memorandum.

4)          When a party has presented a material objection that has not been accepted by the
            Probation Officer and remains for resolution by the court, any opposition must expressed in
            writing whether or not the court specifically orders a response. Always provide a copy to the
            Probation Officer. Responses should correspond to the numbering of the objection(s) and
            clearly explain the party’s position in reaction to the objection.

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